                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

UNITED STATES OF AMERICA,                            )
                                                     )      Case No. DNCW3:01CR183-3
               vs.                                   )      (Financial Litigation Unit)
                                                     )
JOHN WILSON LOCKE.                                   )

                                      WRIT OF EXECUTION

TO THE UNITED STATES MARSHAL
and ALL POINTS WASTE SERVICES, INC.:

       A judgment was entered on September 25, 2002, in the United States District Court for the

Western District of North Carolina, in favor of the United States of America and against the

defendant, John Wilson Locke, whose last known address is XXXXXXXXXX, Charlotte, NC

28269, in the sum of $282,114.34. The balance on the account as of February 15, 2011, is

$270,906.83.

       THEREFORE, YOU ARE HEREBY COMMANDED to levy and/or execute on property

and All Points Waste Services Inc. is commanded to turn over property in which the defendant,

John Wilson Locke, has a substantial nonexempt interest, the said property being any and all

accounts held by defendant’s current employer, All Points Waste Services, Inc., accounts including,

but not limited to, a 401(k) account, in the name of John Wilson Locke, at the following address:

1055 Van Buren Avenue, Indian Trail, NC 28079, telephone number (704) 821-5424.



                                                Signed: February 16, 2011




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